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                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 23-3190                                                September Term, 2023
                                                                    1:23-cr-00257-TSC-1
                                                     Filed On: January 23, 2024
United States of America,

              Appellee

      v.

Donald J. Trump,

              Appellant



       BEFORE:      Srinivasan, Chief Judge; Henderson, Millett, Pillard, Wilkins,
                    Katsas, Rao, Walker, Childs, Pan, and Garcia, Circuit Judges

                                        ORDER

        Upon consideration of appellant’s petition for rehearing en banc, the response
thereto, and the absence of a request by any member of the court for a vote, it is

      ORDERED that the petition be denied.

                                       Per Curiam

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk
                                                 BY:     /s/
                                                         Daniel J. Reidy
                                                         Deputy Clerk
